 1                       IN THE UNITED STATES DISTRICT COURT
                          FOR MIDDLE DISTRICT OF TENNESSEE
 2                               NASHVILLE DIVISION

 3   TENNESSEE BANK & TRUST, a wholly
                                    )
     owned division of FARMERS BANK &
                                    )
 4   TRUST COMPANY, an Arkansas state
                                    )
     bank,                          )
 5                                  )
          Plaintiff,                )
 6                                  )
     v.                             )                Civil Action No. 3:11-cv-0984
 7                                  )                Judge Trauger
     MARION EDWIN LOWERY, CYNTHIA )                  Jury Demanded
 8   LOWERY, MARIAN ELIZABETH       )
     LOWERY SAFFLE, JOHN HARRISON   )
 9   LOWERY, WILLIAM HARRISON       )
     CRABTREE, JR., JIM ENGLAND,    )
10   RICHARD INMAN, TOMMY           )
     CROCKER, BBC HOLDINGS, INC.,   )
11   BOC OPERATIONS, LLC, PLF, LLC, )
     COMMERCE BANCSHARES, INC.,     )
12   PEOPLES STATE BANK OF          )
     COMMERCE AND OAKLAND           )
13   FINANCIAL SERVICES, INC.,      )
                                    )
14        Defendants.               )

15                ANSWER, COUNTER-COMPLAINT AND CROSS-CLAIM

16         Come now the Defendants, BOC Operations, LLC, Commerce Bancshares, Inc. and

17   People State Bank of Commerce (hereinafter collectively referred to as “Defendants, Cross-

18   Claimants or Counter-Claimants”), by and through counsel and for their Answer, Counter-

19   Complaint and Cross-Claim, would show and state as follows:

20                               VENUE AND JURISDICTION

21         1.     Defendants admit jurisdiction and venue set for th in Paragraph 1.

22                                        THE PARTIES

23         2.     The allegations of Paragraph 2 are admitted.

24         3.     The allegations of Paragraph 3 are admitted.

           4.     The allegations of Paragraph 4 are admitted.



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 1          5.     The allegations of Paragraph 5 are admitted.

 2          6.     The allegations of Paragraph 6 are admitted.

 3          7.     The allegations of Paragraph 7 are admitted.

 4          8.     The allegations of Paragraph 8 are admitted, except as to residence.

 5          9.     The allegations of Paragraph 9 are admitted, except as to residence.

 6          10.    The allegations of Paragraph 10 are admitted, except as to residence.

 7          11.    The allegations of the second grammatical sentence of Paragraph 11 are

 8   admitted. Defendants are without sufficient knowledge or information upon which to

 9   form a belief as to the truth of the remaining allegations of Paragraph 11.

10          12.    The allegations of Paragraph 12 are admitted except as to the principal place

11   of business which is located at 7122 Nolensville Rd., Nolensville, Tennessee 37135.

12          13.    It is admitted that PBLF, LLC is a Tennessee Limited Liability Company. It

13   is denied that it’s principal place of business is located at 233 Bedford Way, Franklin,

14   Tennessee. Upon information and belief, Defendants admit that the members of PBLF are

15   Ed Lowery, Cynthia Lowery, Elizabeth Saffle and John Lowery.

16          14.    The allegations of paragraph 14 are denied.

17          15.    It is admitted that Peoples State Bank of Commerce is a domestic corporation

18   with its principal place of business located at 7122 Nolensville Rd., Nolensville, Tennessee

19   37135. It is further admitted that Commerce Bancshares is the sole stockholder of Peoples

20   State Bank and that Peoples State Bank in turn is the sole stockholder of BOC Operations,

21   LLC.

22          16.    It is admitted that Defendant, Oakland Financial Services, Inc., is a Tennessee

23   corporation with its principal place of business located in Cordova, Shelby County,

24   Tennessee. Upon information and belief, it is admitted that Oakland Financial is a majority

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 1   shareholder of BBC Holdings, Inc. It is admitted that Peoples State Bank is a minority

 2   shareholder of BBC Holdings. It is denied that Lowery is a majority shareholder in

 3   Oakland Financial.

 4                                             FACTS

 5          17.    Defendants incorporate their responses to Paragraphs 1-16 herein by

 6   reference.

 7          18.    The allegations of Paragraph 18 are admitted.

 8          19.    Defendants are without sufficient knowledge or information upon which to

 9   form a belief as to the truth of the allegations of Paragraph 19.

10          20.    The allegations of Paragraph 20 are admitted.

11          21.    The allegations of Paragraph 21 are admitted.

12          22.    The allegations of Paragraph 22 are admitted.

13          23.    It is admitted that at the time of the sale BBC Holdings and BOC Operations

14   were headquartered on real property. It is denied that PBLF was headquartered on the real

15   property.

16          24.    The allegations of Paragraph 24 are admitted but it is denied that such was

17   known to these Defendants at the time of the purchase of the property in question by BOC

18   Operations.

19          25.    Defendants are without sufficient knowledge or information upon which to

20   form a belief as to the allegations of Paragraph 25.

21          26.    The participation agreement speaks for itself and these Defendants neither

22   admit or deny the allegations of Paragraph 26.

23          27.    The participation agreement speaks for itself and these Defendants neither

24   admit or deny the allegations of Paragraph 27.

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 1          28.    The participation agreement speaks for itself and these Defendants neither

 2   admit or deny the allegations of Paragraph 28.

 3          29.    Upon information and belief, it is admitted that Ed Lowery either

 4   individually or through various companies owned or controlled by him began to

 5   experience financial difficulties.   Defendants are without sufficient knowledge or

 6   information upon which to form a belief as to the truth of the remaining allegations of

 7   Paragraph 29.

 8          30.    Defendants are without sufficient knowledge or information upon which to

 9   form a belief as to the truth of the allegations of Paragraph 30.

10          31.    Defendants are without sufficient knowledge or information upon which to

11   form a belief as to the truth of the allegations of Paragraph 31.

12          32.    It is admitted that BBC Holdings released the real property from the

13   mortgage and that PBLF conveyed the real property to BOC Operations for full and fair

14   value. It is denied that BOC Operations was an entity controlled or owned by Lowery as

15   Lowery had no vote and recused himself from all voting with regard to the property sale

16   to BOC Operations.

17          33.    Defendants are without sufficient knowledge or information upon which to

18   form a belief as to the truth of the allegations regarding consideration being paid to BBC

19   Holdings. It is denied that no consideration was paid to PBLF. Defendants are without

20   sufficient knowledge or information upon which to form a belief as to the truth of the

21   remaining allegations of Paragraph 33.

22          34.    It is admitted upon information and belief that Lowery has an ownership

23   interest in PBLF and in Commerce Bancshares, Inc., which is the sole shareholder of

24   People’s State Bank of Commerce which is the sole shareholder of BOC Operations, LLC.

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 1   It is admitted that BBC Holdings and BOC Operations were operated out of the same

 2   physical location. The remaining allegations of Paragraph 34 are denied.

 3          35.    These Defendants are without sufficient knowledge or information upon

 4   which to form a belief as to the truth of the allegations of Paragraph 35.

 5          36.    The allegations of Paragraph 36 as they relate to BOC Operations are denied.

 6   These Defendants are without sufficient knowledge or information upon which to form a

 7   belief as to the truth of the remaining allegations of Paragraph 36.

 8          37.    The allegations of Paragraph 37 as they relate to Commerce Bancshares,

 9   Peoples State Bank and BOC Operations are denied. Defendants are without sufficient

10   knowledge or information upon which to form a belief as to the truth of the remaining

11   allegations of Paragraph 37.

12          38.    Defendants are without sufficient knowledge or information upon which to

13   form a belief as to the truth of the allegations of the first grammatical sentence of

14   Paragraph 38. It is denied that the real property represents a source of monies available

15   to repay the note and participation agreement. More particularly, BOC Operations is a

16   bonafide purchaser for value and the participation agreement was not a recorded

17   instrument of which BOC Operations or Peoples State Bank had knowledge.

18                  FIRST CAUSE OF ACTION – BREACH OF CONTRACT

19          39.    Defendants incorporate their response to allegations of Paragraphs 1-38

20   herein by reference.

21          40.    Paragraph 40 does not contain factual allegations but legal conclusions.

22   Defendants are without sufficient knowledge or information upon which to form a belief

23   as to the truth of the legal conclusions set forth in Paragraph 40.

24          41.    It is admitted that BBC Holdings released its security interest and permitted

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 1   PBLF to convey the real property to BOC Operations. These Defendants are without

 2   sufficient knowledge or information upon which to form a belief as to the truth of the

 3   remaining allegations of Paragraph 41.

 4          42.    Defendants are without sufficient knowledge or information upon which to

 5   form a belief as to the truth of the allegations of Paragraph 42.

 6          43.    As they relate to BOC Operations, the allegations of Paragraph 43 are denied.

 7   It is further denied that the Plaintiff is entitled to any relief whatsoever against these

 8   Defendants.

 9                   SECOND CAUSE OF ACTION – CIVIL CONSPIRACY

10          44.    Defendants incorporate their response to the allegations of Paragraphs 1-43

11   herein by reference.

12          45.    The allegations of paragraph 45 are denied as to these Defendants. These

13   Defendants are without sufficient knowledge or information upon which to form a belief

14   as to the truth of the remaining allegations.

15          46.    The allegations of paragraph 46 are denied as to these Defendants. These

16   Defendants are without sufficient knowledge or information upon which to form a belief

17   as to the truth of the remaining allegations.

18          47.    The allegations of paragraph 47 are denied as to these Defendants. These

19   Defendants are without sufficient knowledge or information upon which to form a belief

20   as to the truth of the remaining allegations.

21          48.    The allegations of paragraph 48 are denied as to these Defendants. These

22   Defendants are without sufficient knowledge or information upon which to form a belief

23   as to the truth of the remaining allegations.

24          49.    The allegations of paragraph 45 are denied as to these Defendants. These

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 1   Defendants are without sufficient knowledge or information upon which to form a belief

 2   as to the truth of the remaining allegations. It is denied that the Plaintiff is entitled to any

 3   relief whatsoever as it relates to these Defendants.

 4                            THIRD CAUSE OF ACTION – FRAUD

 5          50.    Defendants incorporate their response to the allegations of paragraphs 1-49

 6   herein by reference.

 7          51.    The allegations of paragraph 51 are denied as to these Defendants. These

 8   Defendants are without sufficient knowledge or information upon which to form a belief

 9   as to the truth of the remaining allegations.

10          52.    The allegations of paragraph 52 are denied as to these Defendants. These

11   Defendants are without sufficient knowledge or information upon which to form a belief

12   as to the truth of the remaining allegations.

13          53.    The allegations of paragraph 53 are denied as to these Defendants. These

14   Defendants are without sufficient knowledge or information upon which to form a belief

15   as to the truth of the remaining allegations.

16          54.    The allegations of paragraph 54 are denied as to these Defendants. These

17   Defendants are without sufficient knowledge or information upon which to form a belief

18   as to the truth of the remaining allegations.

19          55.    The allegations of paragraph 55 are denied as to these Defendants. These

20   Defendants are without sufficient knowledge or information upon which to form a belief

21   as to the truth of the remaining allegations.

22          56.    The allegations of paragraph 56 are denied as to these Defendants. These

23   Defendants are without sufficient knowledge or information upon which to form a belief

24   as to the truth of the remaining allegations.

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 1          57.    The allegations of paragraph 57 are denied as to these Defendants. These

 2   Defendants are without sufficient knowledge or information upon which to form a belief

 3   as to the truth of the remaining allegations. It is denied that the Plaintiff is entitled to any

 4   relief whatsoever as to these Defendants.

 5                FOURTH CAUSE OF ACTION – FRAUDULENT TRANSFER

 6          58.    Defendants incorporated their response to the allegations of paragraphs 1-57

 7   herein by reference.

 8          59.    It is admitted that the property was transferred for the sum of $1,900.000.00

 9   to BOC operations. The remaining allegations are denied.

10          60.    It is denied that Lowery owns a majority interest in the parent company of

11   BOC Operations and denied that Lowery controlled or exercised control over the

12   transaction. More specifically all matters related to the sale of the property were approved

13   by a board of directors with Lowery abstaining from any participation in the vote or

14   transaction by BOC or any entity on the buyer side of the transaction.

15          61.    Defendants are without sufficient knowledge or information upon which to

16   form a belief as to the truth of the allegations of paragraph 61.

17          62.    Defendants are without sufficient knowledge or information upon which to

18   form a belief as to the truth of the allegations of paragraph 62.

19          63.    The allegations of paragraph 63 are denied.

20          64.    The allegations of paragraph 64 are denied.

21          65.    The allegations of paragraph 65 are denied.

22          66.    The allegations of paragraph 66 are denied. It is denied that the Plaintiff is

23   entitled to any relief whatsoever from these Defendants.

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 1                   FIFTH CAUSE OF ACTION – CONSTRUCTIVE TRUST

 2          67.    Defendants incorporate their response to the allegations of paragraphs 1-66

 3   herein by reference.

 4          68.    The allegations of paragraph 68 are denied.

 5          69.    The allegations of paragraph 69 are denied.

 6          70.    The allegations of paragraph 70 are denied.

 7          71.    The allegations of paragraph 71 are denied. It is denied that the Plaintiff is

 8   entitled to any relief whatsoever from these Defendants.

 9                          SIXTH CAUSE OF ACTION – CONVERSION

10          72.    Defendants incorporate their response to the allegations of paragraphs 1-71

11   herein by reference.

12          73.    Defendants are without sufficient knowledge or information upon which to

13   form a belief as to the truth of the allegations of paragraph 73. It is denied that any such

14   interest is superior to a bonafide purchaser for value such as BOC Operations since such

15   interest was not recorded and was unknown to BOC.

16          74.    The allegations of paragraph 74 are denied as to these Defendants. These

17   Defendants are without sufficient knowledge or information upon which to form a belief

18   as to the truth of the remaining allegations.

19          75.    The allegations of paragraph 74 are denied as to these Defendants. These

20   Defendants are without sufficient knowledge or information upon which to form a belief

21   as to the truth of the remaining allegations. It is denied that the Plaintiff is entitled to any

22   relief whatsoever as to these Defendants.

23          76.    Any and all allegations not previously admitted, explained or denied are

24   hereby expressly denied as if denied more fully hereinabove.

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 1                                   AFFIRMATIVE DEFENSES

 2          77.     Defendants aver and allege that BOC Operations was a bonafide purchaser

 3   for value and that it holds such property free and clear of any interest of the Plaintiff or any

 4   other persons or entity other than these Defendants.

 5          78.     Defendants aver and alleges that Plaintiff was negligent in failing to record

 6   its security interest on the public records of Williamson County, Tennessee and such failure

 7   bars any recover against these Defendant or the property owned by BOC Operations.

 8                                    COUNTER COMPLAINT

 9          Now assuming the role of Counter Plaintiff, Defendants aver and allege as follows:

10          79.     Commerce Bancshares, Inc. (“CB”) is the sole shareholder and parent

11   company of Peoples State Bank of Commerce (“Peoples”). Peoples is the sole shareholder

12   and parent of BOC Operations, LLC (“BOC”).

13          80.     Peoples transferred the sum of $1,900,000.00 to BOC its wholly owned

14   subsidiary for the purchase of the real property referenced in the complaint.

15          81.     BOC purchased the property simultaneous with the transfer from Peoples

16   based upon an agreed price with PBLF which was determined on the basis of an appraisal

17   to the property.

18          82.     The property was transferred by warranty deed from PBLF to BOC and

19   contained, inter alia, a warranty of title.

20          83.     Upon information an belief, the Plaintiff was aware of the transfer and failed

21   to advise, CB, Peoples or BOC of any objection thereto.

22          84.     At the time of the transfer, any interest of the Plaintiff was unrecorded in the

23   public records and the conditions and covenants contained in the participation agreement

24   were unknown to CB, Peoples and BOC.

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 1          85.    At no time during the transfer or negotiations for the transfer did Ed Lowery

 2   participate in any voting on behalf of CB, Peoples or BOC.

 3          86.    The sale was an arms length transaction and commercially reasonable in both

 4   form and substance.

 5          87.    CB, Peoples and BOC aver and allege that BOC is a bonafide purchaser of the

 6   property and holds title to the property free and clear of any interest of the Plaintiff.

 7          88.    CB, Peoples and BOC aver and allege that as a result of this case and the lis

 8   pendens filed by the Plaintiff in the Register’s Office of Williamson County, Tennessee that

 9   there now exists a claim against the property and a cloud upon the title.

10          89.    CB, Peoples and BOC aver and allege that a controversy exists as to the

11   ownership and interests in a certain parcel of real estate described in the complaint within

12   the meaning of Rule 57, Fed. R. Civ. P. and 28 U.S.C. § 2201.

13          90.    CB, Peoples and BOC aver and allege that this Court should adjudicate and

14   declare the rights as between the Plaintiff and CB, Peoples and BOC to the property in

15   question and more particularly declare that the property is owned by BOC free and clear

16   of any claims of the Plaintiff.

17                                         CROSS-CLAIM

18          Now, additionally assuming the role of Cross Plaintiffs, Commerce Bancshares, Inc.

19   (“CB”), Peoples State Bank of Commerce (“Peoples”) and BOC Operations, LLC (“BOC”)

20   sue PBLF. LLC (“PBLF”), BBC Holdings, Inc. (“BBC”), Marion Edwin Lowery (“Lowery”),

21   Marian Elizabeth Lowery Saffle (“Saffle”), and Harrison Crabtree (“Crabtree”) and aver

22   and allege as follows:

23          91.    The original complaint in this matter asserts various fraudulent and other

24   wrongful acts on the part of PBLF, BBC, Lowery, Saffle and Crabtree, (hereinafter

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 1   collectively referred to as “Cross Defendants”).

 2          92.    The warranty deed conveying title to the property described in the complaint

 3   was executed by Saffle on behalf of PBLF on the 28th day of May 2010. The deed is of

 4   record in book 5065 page 612 of the Register’s Office of Williamson County, Tennessee.

 5          93.    Upon information and belief, and as alleged in the complaint, PBLF did not

 6   have clear and marketable title to the property at the time of the transfer and such fact was

 7   imputed to PBLF as a result of the knowledge of Lowery. Saffle was aware of this fact as

 8   well at the time that the warranty deed was execute but failed to disclose the same to the

 9   CB, Peoples or BOC.

10          94.    On the 20th day of May 2010, BBC by and through Crabtree executed a partial

11   release of a Deed of Trust and Conditional Assignment of Rents from PBLF to BBC on the

12   subject property. The partial release is of record in the Register’s Office of Williamson

13   County, Tennessee in book 5065, page 610 the terms of which are incorporated herein by

14   reference. At the time of the execution of the release, Saffle, Lowrey, PBLF, BBC and

15   Crabtree were aware that such was in violation of the covenants set forth in the

16   participation agreement between BBC and the original Plaintiff.

17          95.    Saffle, Lowrey, PBLF, BBC and Crabtree had a duty to disclose the fact that

18   BBC did not have the authority to release the property.

19          96.    Neither Saffle, Lowrey, PBLF, BBC or Crabtree disclose the existence of hte

20   participation agreement or the fact that the release violated the terms of the agreement.

21          97.    Peoples in the transfer of funds to BOC and BOC in the tender of the funds

22   to PBLF for the purchase of the property were relying upon the release, the deed and the

23   conveyance of the real property.

24          98.    CB, Peoples and BOC aver and allege that the acts and omissions of the

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 1   Counter Defendants in causing the release of the property from the trust deed and the

 2   transfer by deed in the manner alleged in the original complaint and the previous

 3   paragraphs damaged them in the amount of the purchase price of $1,900,000.00 plus

 4   interest and expenses related to the negotiation, sale and closing of the property in

 5   question.

 6          99.    CB, Peoples and BOC aver and allege that to the extent that Plaintiff is

 7   entitled to recover any sums whatsoever from them or against that property that they are

 8   entitled to indemnity under the terms of the warranty deed and damages to the same

 9   extent from the Counter Defendants based upon the original allegations set forth in the

10   Complaint.

11          100.   Alternatively and additionally, CB, Peoples and BOC aver and allege that as

12   a result of the misrepresentations made by BBC, Crabtree, PBLF and Saffle that it entered

13   into the transaction to purchase the real estate described in the complaint and that it

14   justifiably relied upon the representations contained in the release and warranty deed.

15          101.    CB, Peoples and BOC aver and allege that as a result of the

16   misrepresentations it has been damaged and is entitled to recover to the extent of such

17   damage as may be determined at the trial in this cause including but not limited to its

18   attorneys fees in defending this action which would not have occurred but for the actions

19   of the Counter Defendants.

20          102.   Alternatively and additionally, based upon the allegations set forth in the

21   original complaint that PBLF and Saffle have breached the warranty to title granted to

22   BOC.

23          103.   BOC avers and alleges that such breach has caused and is continuing to cause

24   damage to BOC inasmuch as BOC has been required to defend its title to the property for

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 1   which it is entitled to recover.

 2          Wherefore, Commerce Bancshare, Inc., Peoples State Bank of Commerce and BOC

 3   Operations, LLC pray:

 4          A.     That the Court adjudicate and declare the rights of the BOC and the Plaintiff

 5   to the real estate more specifically declaring that BOC Operations, LLC is the true and

 6   lawful owner of the real estate described in the property free and clear of any interest of

 7   the Plaintiff or any other person or entity whatsoever.

 8          B.     That the original complaint be dismissed as it relates to Commerce Bancshare,

 9   Inc., Peoples State Bank of Commerce and BOC Operations, LLC

10          C.     That Commerce Bancshare, Inc., Peoples State Bank of Commerce and BOC

11   Operations, LLC have a judgment against BBC, Crabtree, Lowery, Saffle and PBLF for any

12   and all sums it is obligated to pay to the original plaintiff.

13          D.     That BOC Operations, LLC be awarded a judgment for all sum expended by

14   it in defending this action or prosecuting the counter complaint and cross claims.

15          E.     For such other and further relief to which Commerce Bancshare, Inc., Peoples

16   State Bank of Commerce and BOC Operations, LLC may be entitled, including but not

17   limited to prejudment interest.

18   COMMERCE BANCSHARE, INC., PEOPLES STATE BANK OF COMMERCE AND

19            BOC OPERATIONS, LLC DEMAND A JURY TO TRY THIS CAUSE.

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 1                                             Respectfully submitted,

 2
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 8                                 CERTIFICATE OF SERVICE

 9          I hereby certify that a true and accurate copy of the foregoing has been served in
     accordance with the local rules of court and guidelines governing electronic case filing and
10   the Federal Rules of Civil Procedure upon:

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24

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22   c/o Harland Dodson, III, Registered Agent
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23   Nashville, Tennessee 37208

24

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 1   Marion Elizabeth Lowery Saffle
     613 Patriot Lane
 2   Franklin, Tennessee 37064

 3   this 16th day of December 2011.

 4                                          /s/ John D. Schwalb
                                          JOHN D. SCHWALB
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